Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF ARIZONA

Case number (if known)                                                      Chapter       7
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                ERGOS BUILDERS, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  8719 WEST ROCKWOOD DRIVE
                                  PEORIA, AZ 85382
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  MARICOPA                                                        Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       ERGOSBUILDERS.COM


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor    ERGOS BUILDERS, LLC                                                                          Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 2362

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                       Chapter 7
                                          Chapter 9
     A debtor who is a “small             Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                              The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                    noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                     $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                  operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                             exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor”) must                               The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     check the second sub-box.                                   debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                When                                  Case number
                                                  District                                When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                                    Relationship
                                                  District                                When                              Case number, if known

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Debtor   ERGOS BUILDERS, LLC                                                                       Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




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Debtor    ERGOS BUILDERS, LLC                                                                      Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      July 11, 2023
                                                  MM / DD / YYYY


                             X   /s/ WILLIAM NIGHTINGALE                                                  WILLIAM NIGHTINGALE
                                 Signature of authorized representative of debtor                         Printed name


                                                                                                          Email Address of debtor
                                 Title   MANAGING MEMBER




18. Signature of attorney    X   /s/ Allan D. NewDelman                                                    Date July 11, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Allan D. NewDelman 004066
                                 Printed name

                                 ALLAN D. NEWDELMAN, P.C.
                                 Firm name

                                 80 EAST COLUMBUS AVENUE
                                 PHOENIX, AZ 85012
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     602-264-4550                  Email address      anewdelman@adnlaw.net

                                 004066 AZ
                                 Bar number and State




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Fill in this information to identify the case:

Debtor name         ERGOS BUILDERS, LLC

United States Bankruptcy Court for the:     DISTRICT OF ARIZONA

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       July 11, 2023                   X /s/ WILLIAM NIGHTINGALE
                                                           Signature of individual signing on behalf of debtor

                                                            WILLIAM NIGHTINGALE
                                                            Printed name

                                                            MANAGING MEMBER
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors




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 Fill in this information to identify the case:

 Debtor name            ERGOS BUILDERS, LLC

 United States Bankruptcy Court for the:                       DISTRICT OF ARIZONA

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                  12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $            40,000.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $              4,618.00

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $            44,618.00


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $            84,955.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$           343,780.35


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $             428,735.35




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                page 1
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com
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Fill in this information to identify the case:

Debtor name         ERGOS BUILDERS, LLC

United States Bankruptcy Court for the:     DISTRICT OF ARIZONA

Case number (if known)
                                                                                                                                      Check if this is an
                                                                                                                                      amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                     12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
        Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                      debtor's interest

3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
          Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                           number


          3.1.     JPMORGAN CHASE BANK                               CHECKING                              6359                                     $3,000.00




          3.2.     JPMORGAN CHASE BANK                               CHECKING                              6367                                         $90.00




          3.3.     JPMORGAN CHASE BANK                               CHECKING                              0733                                         $28.00



4.        Other cash equivalents (Identify all)

5.        Total of Part 1.                                                                                                                      $3,118.00
          Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.
       Yes Fill in the information below.


Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?


Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                                         page 1


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Debtor       ERGOS BUILDERS, LLC                                                             Case number (If known)
             Name


      No. Go to Part 4.
      Yes Fill in the information below.

11.       Accounts receivable


          11b. Over 90 days old:                      178,000.00        -                           178,000.00 =....                          $0.00
                                       face amount                             doubtful or uncollectible accounts



12.       Total of Part 3.                                                                                                                 $0.00
          Current value on lines 11a + 11b = line 12. Copy the total to line 82.

Part 4:      Investments
13. Does the debtor own any investments?

      No. Go to Part 5.
      Yes Fill in the information below.


Part 5:      Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      No. Go to Part 6.
      Yes Fill in the information below.


Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

      No. Go to Part 7.
      Yes Fill in the information below.


Part 7:      Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes Fill in the information below.

          General description                                               Net book value of         Valuation method used   Current value of
                                                                            debtor's interest         for current value       debtor's interest
                                                                            (Where available)

39.       Office furniture

40.       Office fixtures

41.       Office equipment, including all computer equipment and
          communication systems equipment and software
          3 COMPUTERS, 2 PRINTERS                                                     Unknown         Liquidation                          $500.00



42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
          books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
          collections; other collections, memorabilia, or collectibles

43.       Total of Part 7.                                                                                                                 $500.00
          Add lines 39 through 42. Copy the total to line 86.

44.       Is a depreciation schedule available for any of the property listed in Part 7?
             No

Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                         page 2

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             Name


             Yes

45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
             No
             Yes

Part 8:      Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
      Yes Fill in the information below.

          General description                                        Net book value of         Valuation method used       Current value of
          Include year, make, model, and identification numbers      debtor's interest         for current value           debtor's interest
          (i.e., VIN, HIN, or N-number)                              (Where available)

47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles


48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
          floating homes, personal watercraft, and fishing vessels

49.       Aircraft and accessories


50.       Other machinery, fixtures, and equipment (excluding farm
          machinery and equipment)
          ASSORTED SMALL GENERAL
          CONSTRUCTION TOOLS, TILE SAW,
          SCAFFOLDING, SHOP VACS                                                Unknown        Liquidation                            $1,000.00




51.       Total of Part 8.                                                                                                         $1,000.00
          Add lines 47 through 50. Copy the total to line 87.

52.       Is a depreciation schedule available for any of the property listed in Part 8?
             No
             Yes

53.       Has any of the property listed in Part 8 been appraised by a professional within the last year?
             No
             Yes

Part 9:      Real property
54. Does the debtor own or lease any real property?

      No. Go to Part 10.
      Yes Fill in the information below.

55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

          Description and location of           Nature and           Net book value of         Valuation method used   Current value of
          property                              extent of            debtor's interest         for current value       debtor's interest
          Include street address or other       debtor's interest    (Where available)
          description such as Assessor          in property
          Parcel Number (APN), and type
          of property (for example,
          acreage, factory, warehouse,
          apartment or office building, if
          available.




Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                        page 3

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Debtor        ERGOS BUILDERS, LLC                                                         Case number (If known)
              Name

           55.1.    VACANT/UNIMPROV
                    ED 5 ACRE PARCEL
                    LOCATED IN
                    MARICOPA COUNTY.
                    PARCEL
                    #403-04-003A                  FEE SIMPLE                       Unknown            N/A                               $40,000.00




56.        Total of Part 9.                                                                                                           $40,000.00
           Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
           Copy the total to line 88.

57.        Is a depreciation schedule available for any of the property listed in Part 9?
              No
              Yes

58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
              No
              Yes

Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

      No. Go to Part 11.
      Yes Fill in the information below.

           General description                                          Net book value of             Valuation method used   Current value of
                                                                        debtor's interest             for current value       debtor's interest
                                                                        (Where available)

60.        Patents, copyrights, trademarks, and trade secrets

61.        Internet domain names and websites
           WWW.ERGOSBUILDERS.COM (NO VALUE)                                        Unknown            N/A                                     $0.00



62.        Licenses, franchises, and royalties
           AZROC GENERAL CONTRACTOR LICENSE
           #198321 KB-1 (NO VALUE)                                                 Unknown            N/A                                     $0.00



63.        Customer lists, mailing lists, or other compilations

64.        Other intangibles, or intellectual property

65.        Goodwill

66.        Total of Part 10.                                                                                                                $0.00
           Add lines 60 through 65. Copy the total to line 89.

67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
              No
              Yes

68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
              No
              Yes

69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?

Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                         page 4

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Debtor        ERGOS BUILDERS, LLC                                                          Case number (If known)
              Name


              No
              Yes

Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

      No. Go to Part 12.
      Yes Fill in the information below.

                                                                                                                    Current value of
                                                                                                                    debtor's interest


71.        Notes receivable
           Description (include name of obligor)

72.        Tax refunds and unused net operating losses (NOLs)
           Description (for example, federal, state, local)

           POSSIBLE ERC TAX CREDIT                                                           Tax year 2020-2022                Unknown



73.        Interests in insurance policies or annuities

74.        Causes of action against third parties (whether or not a lawsuit
           has been filed)

75.        Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims

76.        Trusts, equitable or future interests in property

77.        Other property of any kind not already listed Examples: Season tickets,
           country club membership

78.        Total of Part 11.                                                                                                      $0.00
           Add lines 71 through 77. Copy the total to line 90.

79.        Has any of the property listed in Part 11 been appraised by a professional within the last year?
              No
              Yes




Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                               page 5

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Debtor          ERGOS BUILDERS, LLC                                                                                 Case number (If known)
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                              $3,118.00

81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                               $500.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                        $1,000.00

88. Real property. Copy line 56, Part 9.........................................................................................>                          $40,000.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

91. Total. Add lines 80 through 90 for each column                                                                $4,618.00         + 91b.               $40,000.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                  $44,618.00




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                      page 6

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                                                                  Main Document    Page 12 of 35
Fill in this information to identify the case:

Debtor name          ERGOS BUILDERS, LLC

United States Bankruptcy Court for the:            DISTRICT OF ARIZONA

Case number (if known)
                                                                                                                                            Check if this is an
                                                                                                                                            amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                   12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.
Part 1:      List Creditors Who Have Secured Claims
                                                                                                                  Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                               Amount of claim             Value of collateral
                                                                                                                                              that supports this
                                                                                                                  Do not deduct the value     claim
                                                                                                                  of collateral.
       CHASE MANAHATTAN
2.1                                                                                                                        $84,955.00                 $4,618.00
       BANK                                         Describe debtor's property that is subject to a lien
       Creditor's Name                              ALL PERSONAL PROPERTY
       PO BOX 6185
       WESTERVILLE, OH 43086
       Creditor's mailing address                   Describe the lien
                                                    RECORDED UCC1
                                                    Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known               Yes
                                                    Is anyone else liable on this claim?
       Date debt was incurred                          No
       2019                                            Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       9001
       Do multiple creditors have an                As of the petition filing date, the claim is:
       interest in the same property?               Check all that apply
           No                                          Contingent
           Yes. Specify each creditor,                 Unliquidated
       including this creditor and its relative        Disputed
       priority.



3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.           $84,955.00

Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
        Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                              you enter the related creditor?   account number for
                                                                                                                                                this entity




Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 1


           Case 2:23-bk-04584-MCW                            Doc 1 Filed 07/11/23 Entered 07/11/23 08:05:48                                          Desc
                                                            Main Document    Page 13 of 35
Fill in this information to identify the case:

Debtor name        ERGOS BUILDERS, LLC

United States Bankruptcy Court for the:         DISTRICT OF ARIZONA

Case number (if known)
                                                                                                                                                  Check if this is an
                                                                                                                                                  amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                 12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

            No. Go to Part 2.

            Yes. Go to line 2.


Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                     Amount of claim

3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $17,900.00
          A-1 AIR CONDITIONING INC                                             Contingent
          9017 NORTH 8TH STREET                                                Unliquidated
          PHOENIX, AZ 85020                                                    Disputed
          Date(s) debt was incurred 2022-2023
                                                                            Basis for the claim:    VENDOR
          Last 4 digits of account number N/A
                                                                            Is the claim subject to offset?       No     Yes

3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $19,910.90
          ABC GLASS CO                                                         Contingent
          15054 NORTH CAVE CREEK ROAD                                          Unliquidated
          PHOENIX, AZ 85032                                                    Disputed
          Date(s) debt was incurred 2022 - 2023
                                                                            Basis for the claim:    VENDOR
          Last 4 digits of account number N/A
                                                                            Is the claim subject to offset?       No     Yes

3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $35,079.47
          ALLISON NIGHTINGALE                                                  Contingent
          8719 WEST ROCKWOOD DRIVE                                             Unliquidated
          PEORIA, AZ 85382                                                     Disputed
          Date(s) debt was incurred
                                                                            Basis for the claim:    INSIDER LOANS
          Last 4 digits of account number    N/A
                                                                            Is the claim subject to offset?       No     Yes

3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                         $0.00
          ARIZONA DEPARTMENT OF REVENUE                                        Contingent
          TAX BANKRUPTCY & COLLECTIONS                                         Unliquidated
          2005 NORTH CENTRAL AVENUE                                            Disputed
          PHOENIX, AZ 85004
                                                                            Basis for the claim:    NONE - FOR INFO ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                   Is the claim subject to offset?       No     Yes




Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                        page 1 of 6
                                                                                                          25995
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                                                          Main Document    Page 14 of 35
Debtor      ERGOS BUILDERS, LLC                                                             Case number (if known)
            Name

3.5      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $0.00
         AZ REGISTRAR OF CONTRACTORS                                  Contingent
         1700 WEST WASHINGTON                                         Unliquidated
         SUITE 105                                                    Disputed
         PHOENIX, AZ 85007
                                                                   Basis for the claim:    FOR INFO ONLY
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.6      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $39,777.01
         CHASE MANHATTAN BANK                                         Contingent
         PO BOX 6185                                                  Unliquidated
         WESTERVILLE, OH 43086                                        Disputed
         Date(s) debt was incurred 2022 - 2023
                                                                   Basis for the claim:    CREDIT CARD
         Last 4 digits of account number 9038
                                                                   Is the claim subject to offset?     No       Yes

3.7      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $34,429.00
         CHASE MANHATTAN BANK                                         Contingent
         PO BOX 6185                                                  Unliquidated
         WESTERVILLE, OH 43086                                        Disputed
         Date(s) debt was incurred 2022 - 2023
                                                                   Basis for the claim:    CREDIT CARD
         Last 4 digits of account number 6612
                                                                   Is the claim subject to offset?     No       Yes

3.8      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $1,723.57
         COMBS LAW GROUP PC                                           Contingent
         2200 EAST CAMELBACK ROAD                                     Unliquidated
         SUITE 221                                                    Disputed
         PHOENIX, AZ 85016-3456
                                                                   Basis for the claim:    LEGAL FEES
         Date(s) debt was incurred 2023
         Last 4 digits of account number 2300                      Is the claim subject to offset?     No       Yes


3.9      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $2,434.84
         DEPENDABLE GLASS                                             Contingent
         2401 WEST BEHREND DRIVE                                      Unliquidated
         SUITE 17                                                     Disputed
         PHOENIX, AZ 85027
                                                                   Basis for the claim:    VENDOR
         Date(s) debt was incurred 2022 - 2023
         Last 4 digits of account number N/A                       Is the claim subject to offset?     No       Yes


3.10     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $14,005.00
         DESIGNER REMODELING                                          Contingent
         225 SOUTH 23RD STREET                                        Unliquidated
         PHOENIX, AZ 85034                                            Disputed
         Date(s) debt was incurred 2022-2023
                                                                   Basis for the claim:    VENDOR
         Last 4 digits of account number N/A
                                                                   Is the claim subject to offset?     No       Yes

3.11     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $4,354.00
         EMC INSURANCE COMPANIES                                      Contingent
         PO BOX 5760                                                  Unliquidated
         PEORIA, AZ 85385-5760                                        Disputed
         Date(s) debt was incurred 2023
                                                                   Basis for the claim:    INSURANCE PREMIUM
         Last 4 digits of account number 3324
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 2 of 6



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Debtor      ERGOS BUILDERS, LLC                                                             Case number (if known)
            Name

3.12     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $4,170.30
         FOXFIRE PROTECTION                                           Contingent
         5304 EAST ENID AVENUE                                        Unliquidated
         MESA, AZ 85206                                               Disputed
         Date(s) debt was incurred 2022 - 2023
                                                                   Basis for the claim:    VENDOR
         Last 4 digits of account number N/A
                                                                   Is the claim subject to offset?     No       Yes

3.13     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $12,000.00
         HISE TILE & STONE                                            Contingent
         C/O ERIC HISE                                                Unliquidated
         9505 SOUTH KENNETH PLACE                                     Disputed
         TEMPE, AZ 85284
                                                                   Basis for the claim:    VENDOR
         Date(s) debt was incurred 2022-2023
         Last 4 digits of account number N/A                       Is the claim subject to offset?     No       Yes


3.14     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $20,460.00
         HOME DEPOT CREDIT SERVICES                                   Contingent
         PO BOX 790345                                                Unliquidated
         SAINT LOUIS, MO 63179                                        Disputed
         Date(s) debt was incurred 2022 - 2023
                                                                   Basis for the claim:    CREDIT CARD
         Last 4 digits of account number 7364
                                                                   Is the claim subject to offset?     No       Yes

3.15     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $0.00
         INTERNAL REVENUE SERVICE                                     Contingent
         CENTRALIZED INSOLVENCY OPERATIONS                            Unliquidated
         PO BOX 7346                                                  Disputed
         PHILADELPHIA, PA 19101-7346
                                                                   Basis for the claim:    NONE - FOR INFO ONLY
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.16     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $600.00
         INTUIT QUCKBOOKS                                             Contingent
         2632 MARINE WAY                                              Unliquidated
         MOUNTAIN VIEW, CA 94043                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    VENDOR
         Last 4 digits of account number   3940
                                                                   Is the claim subject to offset?     No       Yes

3.17     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $7,170.00
         JOE LOPEZ LLC                                                Contingent
         3320 WEST STATE AVENUE                                       Unliquidated
         PHOENIX, AZ 85051                                            Disputed
         Date(s) debt was incurred 2022 - 2023
                                                                   Basis for the claim:    VENDOR
         Last 4 digits of account number N/A
                                                                   Is the claim subject to offset?     No       Yes

3.18     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $3,713.36
         MARK TODD                                                    Contingent
         6962 WEST ROWEL ROAD                                         Unliquidated
         PEORIZ, AZ 85383                                             Disputed
         Date(s) debt was incurred 2022 - 2023
                                                                   Basis for the claim:    VENDOR
         Last 4 digits of account number N/A
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 3 of 6



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Debtor      ERGOS BUILDERS, LLC                                                             Case number (if known)
            Name

3.19     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $0.00
         MERCHANTS BONDING COMPANY                                    Contingent
         6700 WESTOWN PARKWAY                                         Unliquidated
         WEST DES MOINES, IA 50266                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    FOR INFO ONLY - SURETY BOND
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.20     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $10,000.00
         MGM LANDSCAPING                                              Contingent
         6962 WEST ROWEL ROAD                                         Unliquidated
         PEORIA, AZ 85383                                             Disputed
         Date(s) debt was incurred 2022-2023
                                                                   Basis for the claim:    VENDOR
         Last 4 digits of account number N/A
                                                                   Is the claim subject to offset?     No       Yes

3.21     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $15,476.00
         MIRASOL DEVELOPMENT                                          Contingent
         2330 WEST PARKSIDE LANE                                      Unliquidated
         SUITE G102                                                   Disputed
         PHOENIX, AZ 85027
                                                                   Basis for the claim:    VENDOR
         Date(s) debt was incurred 2022 - 2023
         Last 4 digits of account number N/A                       Is the claim subject to offset?     No       Yes


3.22     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $0.00
         MONICA J STERN CPA                                           Contingent
         11225 NORTH 28TH DRIVE                                       Unliquidated
         SUITE 110                                                    Disputed
         PHOENIX, AZ 85029
                                                                   Basis for the claim:    FOR INFO ONLY
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.23     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $3,800.00
         MOVIDA ELECTRIC                                              Contingent
         22451 WEST LOWER BUCKEYE ROAD                                Unliquidated
         BUCKEYE, AZ 85326                                            Disputed
         Date(s) debt was incurred 2022 - 2023
                                                                   Basis for the claim:    VENDOR
         Last 4 digits of account number N/A
                                                                   Is the claim subject to offset?     No       Yes

3.24     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $314.50
         RIGHT NETWORKS                                               Contingent
         14 HAMPSHIRE DRIVE                                           Unliquidated
         HUDSON, NH 03051                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    VENDOR
         Last 4 digits of account number   1612
                                                                   Is the claim subject to offset?     No       Yes

3.25     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $14,000.00
         SNELL & WILMER                                               Contingent
         400 EAST VANBUREN                                            Unliquidated
         SUITE 1900                                                   Disputed
         PHOENIX, AZ 85004
                                                                   Basis for the claim:    LEGAL FEES
         Date(s) debt was incurred 2022 - 2023
         Last 4 digits of account number N/A                       Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 4 of 6



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Debtor       ERGOS BUILDERS, LLC                                                                    Case number (if known)
             Name

3.26      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $16,186.83
          SONORAN PLUMBING SUPPLY                                             Contingent
          3422 WEST OSBORN                                                    Unliquidated
          PHOENIX, AZ 85017                                                   Disputed
          Date(s) debt was incurred 2022 - 2023
                                                                           Basis for the claim:    VENDOR
          Last 4 digits of account number 0638
                                                                           Is the claim subject to offset?     No       Yes

3.27      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $1,727.60
          SPECIAL ELECTRONICS                                                 Contingent
          PO BOX 5157                                                         Unliquidated
          PEORIA, AZ 85385                                                    Disputed
          Date(s) debt was incurred 2022 - 2023
                                                                           Basis for the claim:    VENDOR
          Last 4 digits of account number N/A
                                                                           Is the claim subject to offset?     No       Yes

3.28      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $6,827.36
          STAR HARDWARE INC                                                   Contingent
          1015 NORTH MCQUEEN ROAD                                             Unliquidated
          GILBERT, AZ 85233                                                   Disputed
          Date(s) debt was incurred 2022 - 2023
                                                                           Basis for the claim:    VENDOR
          Last 4 digits of account number N/A
                                                                           Is the claim subject to offset?     No       Yes

3.29      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $19,700.00
          STATE PLASTERING                                                    Contingent
          27847 NORTH 78TH STREET                                             Unliquidated
          SCOTTSDALE, AZ 85266                                                Disputed
          Date(s) debt was incurred 2022 - 2023
                                                                           Basis for the claim:    VENDOR
          Last 4 digits of account number N/A
                                                                           Is the claim subject to offset?     No       Yes

3.30      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $4,086.00
          TECHNOLOGY @ HOME                                                   Contingent
          26257 NORTH 45TH PLACE                                              Unliquidated
          PHOENIX, AZ 85050-8558                                              Disputed
          Date(s) debt was incurred 2022 - 2023
                                                                           Basis for the claim:    VENDOR
          Last 4 digits of account number N/A
                                                                           Is the claim subject to offset?     No       Yes

3.31      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $11,411.61
          TRUE WEST WOOD FLOORS, LLC                                          Contingent
          5730 WEST LUPINE AVENUE                                             Unliquidated
          GLENDALE, AZ 85304                                                  Disputed
          Date(s) debt was incurred 2022-2023
                                                                           Basis for the claim:    VENDOR
          Last 4 digits of account number N/A
                                                                           Is the claim subject to offset?     No       Yes

3.32      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $22,523.00
          WIL-CORE PLUMBING LLC                                               Contingent
          2431 EAST OMEGA DRIVE                                               Unliquidated
          SAN TAN VALLEY, AZ 85143                                            Disputed
          Date(s) debt was incurred 2022 - 2023
                                                                           Basis for the claim:    VENDOR
          Last 4 digits of account number N/A
                                                                           Is the claim subject to offset?     No       Yes



Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.


Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 5 of 6



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Debtor      ERGOS BUILDERS, LLC                                                                 Case number (if known)
            Name

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                              On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                related creditor (if any) listed?               account number, if
                                                                                                                                                any
4.1       CLAUDIO IANNITELLI ESQ
          5353 NORTH 16TH STREET                                                                Line     3.10
          SUITE 315
                                                                                                       Not listed. Explain
          PHOENIX, AZ 85016

4.2       CORPORATE INSURANCE SOLUTIONS LLC
          8080 EAST GELDING DRIVE                                                               Line     3.11
          SUITE 110
                                                                                                       Not listed. Explain
          SCOTTSDALE, AZ 85260-6983

4.3       DESIGNER REMODELING
          3030 EAST WASHINGTON STREET                                                           Line     3.10
          PHOENIX, AZ 85034
                                                                                                       Not listed. Explain


Part 4:     Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                    Total of claim amounts
5a. Total claims from Part 1                                                                       5a.          $                          0.00
5b. Total claims from Part 2                                                                       5b.    +     $                    343,780.35

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                            5c.          $                      343,780.35




Official Form 206 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 6 of 6



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Fill in this information to identify the case:

Debtor name       ERGOS BUILDERS, LLC

United States Bankruptcy Court for the:     DISTRICT OF ARIZONA

Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.   Does the debtor have any executory contracts or unexpired leases?
       No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired
                                                                              lease

2.1.       State what the contract or            "SHERMAN
           lease is for and the nature of        RESIDENCE PROJECT"
           the debtor's interest                 CONSTRUCTION 75%
                                                 COMPLETED -
                                                 DISPUTE BETWEEN
                                                 PARTIES
               State the term remaining          25% REMAINING TO
                                                 COMPLETE                           ALLEN AND CAROL SHERMAN
           List the contract number of any                                          8051 EAST DEL ACERO DRIVE
                 government contract                                                SCOTTSDALE, AZ 85258


2.2.       State what the contract or            STORAGE UNITS
           lease is for and the nature of
           the debtor's interest

               State the term remaining          MONTH-TO-MONTH
                                                                                    US STORAGE CENTERS
           List the contract number of any                                          19315 NORTH 83RD AVENUE
                 government contract                                                PEORIA, AZ 85382




Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                                    Page 1 of 1


         Case 2:23-bk-04584-MCW                       Doc 1 Filed 07/11/23 Entered 07/11/23 08:05:48                                        Desc
                                                     Main Document    Page 20 of 35
Fill in this information to identify the case:

Debtor name      ERGOS BUILDERS, LLC

United States Bankruptcy Court for the:   DISTRICT OF ARIZONA

Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

   No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
   Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                           Name                            Check all schedules
                                                                                                                                that apply:

   2.1    ALLISON                     8719 WEST ROCKWOOD DRIVE                                  CHASE MANHATTAN                    D
          NIGHTINGALE                 PEORIA, AZ 85382                                          BANK                               E/F       3.6
                                                                                                                                   G




   2.2    WILLIAM                     8719 WEST ROCKWOOD DRIVE                                  CHASE MANHATTAN                    D
          NIGHTINGALE                 PEORIA, AZ 85382                                          BANK                               E/F       3.7
                                                                                                                                   G




Official Form 206H                                                    Schedule H: Your Codebtors                                             Page 1 of 1

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Fill in this information to identify the case:

Debtor name         ERGOS BUILDERS, LLC

United States Bankruptcy Court for the:    DISTRICT OF ARIZONA

Case number (if known)
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:     Income

1. Gross revenue from business

          None.

      Identify the beginning and ending dates of the debtor’s fiscal year,            Sources of revenue                          Gross revenue
      which may be a calendar year                                                    Check all that apply                        (before deductions and
                                                                                                                                  exclusions)

      From the beginning of the fiscal year to filing date:                               Operating a business                               $339,144.78
      From 1/01/2023 to Filing Date
                                                                                          Other    BUSINESS


      For prior year:                                                                     Operating a business                             $1,396,939.12
      From 1/01/2022 to 12/31/2022
                                                                                          Other    BUSINESS


      For year before that:                                                               Operating a business                             $1,405,204.00
      From 1/01/2021 to 12/31/2021
                                                                                          Other    BUSINESS

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

          None.

                                                                                      Description of sources of revenue           Gross revenue from
                                                                                                                                  each source
                                                                                                                                  (before deductions and
                                                                                                                                  exclusions)

Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

          None.

      Creditor's Name and Address                                 Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                      Check all that apply

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
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    may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
    listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
    debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

          None.

      Insider's name and address                                   Dates                 Total amount of value           Reasons for payment or transfer
      Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

          None

      Creditor's name and address                      Describe of the Property                                        Date                  Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

          None

      Creditor's name and address                      Description of the action creditor took                         Date action was                Amount
                                                                                                                       taken

Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

          None.

             Case title                                Nature of case              Court or agency's name and                 Status of case
             Case number                                                           address
      7.1.   SHERMAN V. ERGOS                          BREACH OF                   ARIZONA REGISTRAR OF                          Pending
             BUILDERS, LLC                             CONTRACT                    CONTRACTORS                                   On appeal
             2023-05270
                                                                                                                                 Concluded

      7.2.   DESIGNER REMODLING V.                     BREACH OF                   ARIZONA REGISTRAR OF                          Pending
             ERGOS BUILDERS, LLC                       CONTRACT                    CONTRACTORS                                   On appeal
             2023-05389
                                                                                                                                 Concluded


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

          None


Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

          None

             Recipient's name and address              Description of the gifts or contributions                 Dates given                             Value




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Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

          None

      Description of the property lost and             Amount of payments received for the loss                   Dates of loss           Value of property
      how the loss occurred                                                                                                                            lost
                                                       If you have received payments to cover the loss, for
                                                       example, from insurance, government compensation, or
                                                       tort liability, list the total received.

                                                       List unpaid claims on Official Form 106A/B (Schedule
                                                       A/B: Assets – Real and Personal Property).

Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

          None.

               Who was paid or who received              If not money, describe any property transferred               Dates                Total amount or
               the transfer?                                                                                                                         value
               Address
      11.1.    ALLAN D NEWDELMAN PC                                                                                    MAY, 2023
               80 EAST COLUMBUS                                                                                        (INCLUDIN
               AVENUE                                                                                                  G FILING
               PHOENIX, AZ 85012                                                                                       FEE)                       $7,000.00

               Email or website address
               anewdelman@adnlaw.net

               Who made the payment, if not debtor?
               WILLIAM AND ALLISON
               NIGHTINGALE



12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

          None.

      Name of trust or device                            Describe any property transferred                     Dates transfers              Total amount or
                                                                                                               were made                             value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

          None.

              Who received transfer?                   Description of property transferred or                     Date transfer             Total amount or
              Address                                  payments received or debts paid in exchange                was made                           value

 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.




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          Does not apply

               Address                                                                                              Dates of occupancy
                                                                                                                    From-To

Part 8:     Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
           Yes. Fill in the information below.


               Facility name and address                Nature of the business operation, including type of services                If debtor provides meals
                                                        the debtor provides                                                         and housing, number of
                                                                                                                                    patients in debtor’s care

Part 9:     Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

           No.
           Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?


Part 10:    Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

          None
              Financial Institution name and            Last 4 digits of           Type of account or          Date account was                  Last balance
              Address                                   account number             instrument                  closed, sold,                 before closing or
                                                                                                               moved, or                              transfer
                                                                                                               transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


          None

      Depository institution name and address                Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
                                                             Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.




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Debtor      ERGOS BUILDERS, LLC                                                                 Case number (if known)




         None

      Facility name and address                             Names of anyone with                  Description of the contents               Does debtor
                                                            access to it                                                                    still have it?
      US STORAGCE CENTERS                                   WILLIAM AND ALLISON                   PERSONAL PROPERTY                             No
      19315 NORTH 83RD AVENUE                               NIGHTINGALE                           LISTED ON SCHEDULE A AS                       Yes
      PEORIA, AZ 85382                                                                            WELL AS SOME PERSONAL
                                                                                                  PROPERTY OWNED BY THE
                                                                                                  LLC MEMBERS



Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

       None


Part 12:    Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
           Yes. Provide details below.

      Case title                                            Court or agency name and              Nature of the case                        Status of case
      Case number                                           address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known           Date of notice
                                                            address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known           Date of notice
                                                            address

Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.


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         None

   Business name address                             Describe the nature of the business               Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.

                                                                                                       Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To
      26a.1.        MONICA STERN, CPA                                                                                                  2015 TO THE
                    11225 NORTH 28TH DRIVE                                                                                             PRESENT
                    SUITE A-100
                    PHOENIX, AZ 85029

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

             None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

             None

      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why
      26c.1.        MONICA STERN, CPA, FRED GUILTAOUT,
                    ALLISON & WILLIAM NIGHTINGALE


    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

             None

      Name and address
      26d.1.        CHASE MANHATTAN BANK
                    PO BOX 6185
                    WESTERVILLE, OH 43086

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
           Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                  Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                     or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

      Name                                    Address                                             Position and nature of any                    % of interest, if
                                                                                                  interest                                      any
      WILLIAM NIGHTINGALE                     8719 WEST ROCKWOOD DRIVE                            MANAGING MEMBER                               51%
                                              PEORIA, AZ 85382




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Debtor      ERGOS BUILDERS, LLC                                                                Case number (if known)



      Name                                   Address                                             Position and nature of any              % of interest, if
                                                                                                 interest                                any
      ALLISON NIGHTINGALE                    8719 WEST ROCKWOOD DRIVE                            MEMBER                                  49%
                                             PEORIA, AZ 85382



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


           No
           Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

           No
           Yes. Identify below.

             Name and address of recipient            Amount of money or description and value of               Dates               Reason for
                                                      property                                                                      providing the value
      30.1 WILLIAM NIGHTINGALE
      .    8719 WEST ROCKWOOD                                                                                   OVER THE
             DRIVE                                                                                              PAST 12
             PEORIA, AZ 85382                         $82,565.85                                                MONTHS              WAGES

             Relationship to debtor
             MANAGING MEMBER


      30.2 ALLISON NIGHTINGALE
      .    8719 WEST ROCKWOOD                                                                                   OVER THE
             DRIVE                                                                                              PAST 12
             PEORIA, AZ 85382                         $9,630.00                                                 MONTHS              WAGES

             Relationship to debtor
             MEMBER


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
           Yes. Identify below.

   Name of the parent corporation                                                                     Employer Identification number of the parent
                                                                                                      corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
           Yes. Identify below.

   Name of the pension fund                                                                           Employer Identification number of the pension
                                                                                                      fund

Part 14:    Signature and Declaration

     WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
     connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
     18 U.S.C. §§ 152, 1341, 1519, and 3571.

     I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true

Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 7


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Debtor      ERGOS BUILDERS, LLC                                                                 Case number (if known)



     and correct.

     I declare under penalty of perjury that the foregoing is true and correct.

Executed on         July 11, 2023

/s/ WILLIAM NIGHTINGALE                                         WILLIAM NIGHTINGALE
Signature of individual signing on behalf of the debtor         Printed name

Position or relationship to debtor   MANAGING MEMBER

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                    page 8


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                                                             District of Arizona
 In re   ERGOS BUILDERS, LLC                                                                      Case No.
                                                                      Debtor(s)                   Chapter      7

                                                                                                 Check if this is an
                                                                                              Amended/Supplemental Mailing List
                                                                                              (Include only newly added or
                                                                                              changed creditors.)


                                           MAILING LIST DECLARATION


         I, the MANAGING MEMBER of the corporation named as the debtor in this case, do hereby certify, under penalty of

perjury, that the Master Mailing List, consisting of   4     sheet(s), is complete, correct and consistent with the debtor(s)' Schedules.




Date:    July 11, 2023                                     /s/ WILLIAM NIGHTINGALE
                                                           WILLIAM NIGHTINGALE/MANAGING MEMBER
                                                           Signer/Title

Date: July 11, 2023                                        /s/ Allan D. NewDelman
                                                           Signature of Attorney
                                                           Allan D. NewDelman 004066
                                                           ALLAN D. NEWDELMAN, P.C.
                                                           80 EAST COLUMBUS AVENUE
                                                           PHOENIX, AZ 85012
                                                           602-264-4550 Fax: 602-277-0144




MML_Requirements_8-2018                                                                                                             MML-3




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A-1 AIR CONDITIONING INC
9017 NORTH 8TH STREET
PHOENIX AZ 85020


ABC GLASS CO
15054 NORTH CAVE CREEK ROAD
PHOENIX AZ 85032


ADAM REICH ESQ
LEWIS & ROCA
201 EAST WASHINGTON STREET #1200
PHOENIX AZ 85004


ALLEN AND CAROL SHERMAN
8051 EAST DEL ACERO DRIVE
SCOTTSDALE AZ 85258


ARIZONA DEPARTMENT OF REVENUE
TAX BANKRUPTCY & COLLECTIONS
2005 NORTH CENTRAL AVENUE
PHOENIX AZ 85004


AZ REGISTRAR OF CONTRACTORS
1700 WEST WASHINGTON
SUITE 105
PHOENIX AZ 85007


CHASE MANAHATTAN BANK
PO BOX 6185
WESTERVILLE OH 43086


CHASE MANHATTAN BANK
PO BOX 6185
WESTERVILLE OH 43086


CLAUDIO IANNITELLI ESQ
5353 NORTH 16TH STREET
SUITE 315
PHOENIX AZ 85016


COMBS LAW GROUP PC
2200 EAST CAMELBACK ROAD
SUITE 221
PHOENIX AZ 85016-3456



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CORPORATE INSURANCE SOLUTIONS LLC
8080 EAST GELDING DRIVE
SUITE 110
SCOTTSDALE AZ 85260-6983


DEPENDABLE GLASS
2401 WEST BEHREND DRIVE
SUITE 17
PHOENIX AZ 85027


DESIGNER REMODELING
225 SOUTH 23RD STREET
PHOENIX AZ 85034


DESIGNER REMODELING
3030 EAST WASHINGTON STREET
PHOENIX AZ 85034


EMC INSURANCE COMPANIES
PO BOX 5760
PEORIA AZ 85385-5760


FOXFIRE PROTECTION
5304 EAST ENID AVENUE
MESA AZ 85206


HISE TILE & STONE
C/O ERIC HISE
9505 SOUTH KENNETH PLACE
TEMPE AZ 85284


HOME DEPOT CREDIT SERVICES
PO BOX 790345
SAINT LOUIS MO 63179


INTERNAL REVENUE SERVICE
CENTRALIZED INSOLVENCY OPERATIONS
PO BOX 7346
PHILADELPHIA PA 19101-7346


INTUIT QUCKBOOKS
2632 MARINE WAY
MOUNTAIN VIEW CA 94043




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JOE LOPEZ LLC
3320 WEST STATE AVENUE
PHOENIX AZ 85051


MARK TODD
6962 WEST ROWEL ROAD
PEORIZ AZ 85383


MERCHANTS BONDING COMPANY
6700 WESTOWN PARKWAY
WEST DES MOINES IA 50266


MGM LANDSCAPING
6962 WEST ROWEL ROAD
PEORIA AZ 85383


MIRASOL DEVELOPMENT
2330 WEST PARKSIDE LANE
SUITE G102
PHOENIX AZ 85027


MONICA J STERN CPA
11225 NORTH 28TH DRIVE
SUITE 110
PHOENIX AZ 85029


MOVIDA ELECTRIC
22451 WEST LOWER BUCKEYE ROAD
BUCKEYE AZ 85326


RIGHT NETWORKS
14 HAMPSHIRE DRIVE
HUDSON NH 03051


SNELL & WILMER
400 EAST VANBUREN
SUITE 1900
PHOENIX AZ 85004


SONORAN PLUMBING SUPPLY
3422 WEST OSBORN
PHOENIX AZ 85017




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SPECIAL ELECTRONICS
PO BOX 5157
PEORIA AZ 85385


STAR HARDWARE INC
1015 NORTH MCQUEEN ROAD
GILBERT AZ 85233


STATE PLASTERING
27847 NORTH 78TH STREET
SCOTTSDALE AZ 85266


TECHNOLOGY @ HOME
26257 NORTH 45TH PLACE
PHOENIX AZ 85050-8558


TRUE WEST WOOD FLOORS, LLC
5730 WEST LUPINE AVENUE
GLENDALE AZ 85304


WIL-CORE PLUMBING LLC
2431 EAST OMEGA DRIVE
SAN TAN VALLEY AZ 85143




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 In re   ERGOS BUILDERS, LLC                                                        Case No.
                                                            Debtor(s)               Chapter     7




                            CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for ERGOS BUILDERS, LLC in the above captioned action, certifies that the following
is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of
any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



  None [Check if applicable]




July 11, 2023                                  /s/ Allan D. NewDelman
Date                                           Allan D. NewDelman 004066
                                               Signature of Attorney or Litigant
                                               Counsel for ERGOS BUILDERS, LLC
                                               ALLAN D. NEWDELMAN, P.C.
                                               80 EAST COLUMBUS AVENUE
                                               PHOENIX, AZ 85012
                                               602-264-4550 Fax:602-277-0144
                                               anewdelman@adnlaw.net




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